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                                       Summary of Decision-Making Process for
                                          Post-DBO Gate & Club Locations


       Teams Involved:
               Y COSA ESC
               Y SAT Finance Team
               Y SAT AULA Team
               Y SAT TOP Team
               Y SAT Legal Team
               Y Executive Program Manager (EPM)
               Y Master Architect (MA)

       Factors Considered Included:
               ./ Number of preferential gates requested by airline
               ./Whether an airline club was requested
               ./Whether airline operates or commits to operating international routes
               ./Whether airline has relevant code share arrangement(s)
               ./Current level of enplaned passengers @ SAT
               ./The airline's "fit" into San Antonio
               ./The airline's service, growth, and experience
               ./The existence of a written commitment by airline to city pairs, specific flights, or
                  minimum levels of enplaned passengers
               ./ Potential need by airline for appurtenant City Gates (for expansion)
               ./Terminal load-balancing considerations

       Process Employed:
       Each airline with a significantly large market share at SAT was assessed utilizing a "Gating Placement
       Analysis Worksheet" which considered a variety of relevant factors. The scoring worksheet was reviewed
       by member(s) of the SAT Finance Team, the SAT AULA Team, the EPM, and the SAT Legal Team. A score
       was assigned to each large airline and the airlines were ranked (i.e., 1-4).

       The EPM, the MA, and a member from each of the SAT AULA team and the SAT TOP team reviewed and
       considered certain non-quantifiable considerations, among which were the carriers' "fit" into San Antonio
       (relating to desirability of passenger profile (business, leisure, mix, etc.) and airline brand position
       (network, ULCC, established, start-up, etc.); the airlines "service, growth and experience" (which included
       an analysis of the airline's overall reasonable growth potential and commitment to SAT, aspirations for
       international flights, and any differentiation of product or technology used that would enhance customer
       experience); and the possible need for appurtenant City Gates (consideration included the potential for a
       carrier to grow incrementally beyond its preferential gates and/or for the use of City Gates for RON
       aircraft, and the availability of usable City Gates for IROPs).

       The analysis then turned to broad-based terminal load balancing considerations. In assessing such
       matters, the reviewers assessed the airport's operations as a whole and determined what was advisable
       from an airport-wide balancing viewpoint. Among the areas for consideration were impacts upon baggage
       make up area, the BHS, the airport roadway system, the passenger and commercial curbs, and the
       ticketing lobby.




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       Summary of Decision:

       The first component of the decision-making process was to examine airline club requests, as the requests
       for airline clubs were valuable to the airport/city for potential customer experience, represent a fixed
       financial commitment by the airline, and are a unique challenge with respect to available space/siting
       options. The two largest club requests (AA and DL) could only reasonably be accommodated by siting
       within new Terminal C. Those two airlines (AA and DL) combined requested 11 preferential gates. One
       of those two airlines had potential need to be placed next to an FIS-connected gate (DL) due to a relevant
       code share arrangement. Assigning those two airlines (AA and DL) to Terminal C took 11 of 11 domestic
       gates to be constructed within the new Terminal and left the 6 FIS-equipped gates in the new Terminal
       available for international operations and/or iterant (per turn) use by other airlines (with international
       arrivals receiving priority).

       Another airline requested a club but with a smaller footprint than the other two airlines (UA). That airline
       (UA) requested 6 gates. With no space left in C to locate a club, it was analyzed whether it was more
       reasonable to leave that airline (UA) in Terminal B where its existing club is located or move it to Terminal
       A where a new club would have to be constructed. Relocating that airline and constructing a new club in
       Terminal A would be costly. It was estimated that it would cost approximately $2m for relocating the
       gates and offices and another $7m for construction of the club itself. In addition, it was estimated that it
       would cost another $20m for "bumping out" the structure to accommodate the club. Therefore, it was
       determined that the most reasonable approach was to leave that airline (UA) in Terminal B. Since such
       airline (UA) requested 6 preferential gates, hat left 2 of the 8 gates available in Terminal B. Given Spirit
       Airlines' (NK) request for one preferential gate and its expected growth, it was reasonable to assign NK to
       1 preferential gate in Terminal B with the expectation that it could grow incrementally and potentially use
       the 1 remaining gate which is to remain as a City Gate.

       As noted, when the two airlines that requested large clubs (AA and DL) were sited in Terminal C, 11 of the
       17 gates were assigned. Further, the 6 remaining gates are to be FIS-equipped and it would be inadvisable
       to assign such gates to an airline that has a high utilization rate of their gates. Thus, the 6 FIS-gates are
       planned to be used primarily as international arrival gates and, potentially, for incremental growth for the
       other airlines in Terminal Cor for IROPs.

       The fourth large airline (WN) requested 10 preferential post-DBO gates. Notably that airline (WN) does
       not have an airline club as part of its offerings.

       When scenarios were assessed with having WN either on Terminal Cor Terminal B, given its high level of
       passenger throughput, concerns arose over terminal load balancing. One such scenario was siting WN on
       Terminal B (8 gates) with some utilization of Terminal C gates. With DL and AA in Terminal C, adding WN
       to that side of the airport would overload the Terminal C baggage system, the terminal roadway/curb and
       security checkpoint. Further, concerns existed regarding WN's utilization of FIS-equipped gates and the
       potential for disruption of their schedule/operation with international flights (which would necessarily
       have priority over WN's domestic operations).

       Thus, the most reasonable overall solution was to site WN in Terminal A. It was acknowledged that the
       width of Terminal A was less than ideal. However, the holdrooms in Terminal A are to be substantially
       enlarged to accommodate the aircraft that use them (e.g., 737-800s), and the interior is to be refurbished
       to match the look and feel of the new terminal facilities. Of note is that a large number of RON spaces
       will be a part of the post-DBO Terminal A which should aid WN's morning and late-night operations.
       Further, it was thought that the airport could partner with WN to "make the most" out of the airlines'
       substantial and focused use of Terminal A.

       Low frequency and/or non-signatory airlines are to be assigned to Terminal A as well (noting that the GLF
       gate will be fully operational at DBO as well.

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